        Case 2:12-cr-00025-MCE Document 9 Filed 02/09/12 Page 1 of 3


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 8
                                  UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES,                                    Case No. 2:12-CR-00025 MCE
12
                    Plaintiff,                         STIPULATION AND ORDER TO
13                                                     CONTINUE STATUS CONFERENCE
            v.
14
     STANCIL ENTERPRISES, INC., et al
15
                    Defendants.
16

17

18          The defendants in this matter have not yet made an initial appearance or been arraigned.
19   The parties have been conferring on the earliest date and time upon which the initial appearance
20   and arraignment might occur, planning complicated by the current duty Magistrate Judge’s prior
21   position in the U.S. Attorney’s Office. The Government has requested this matter be set for
22   initial appearance and arraignment on the regular Magistrate calendar on February 13, 2012,
23   following the scheduled change in the Magistrate on duty, and counsel for all defendants have
24   confirmed that they and their respective clients can make that appearance.
25          Given that the status conference in this matter is currently set for February 9, 2012, but the
26   defendants will not yet have been arraigned, the parties stipulate that good cause exists to and
27   jointly request that the status conference currently set for February 9, 2012, be continued to
28   February 16, 2012, at 9:00 a.m.

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                            Case 2:12-cr-00025-MCE Document 9 Filed 02/09/12 Page 2 of 3


 1
     The parties further advise the Court that they expect that on that date, corporate defendant Stancil
 2
     Enterprises, Inc. will enter a change of plea pursuant to a written agreement.
 3
                               Undersigned defense counsel have authorized Ms. Hobler to electronically sign and file on
 4
     their behalf.
 5
     Dated: February 7, 2012                                               Respectfully submitted,
 6

 7                                                                         BENJAMIN B. WAGNER
                                                                           United States Attorney
 8
                                                                   By:     /s/ Jean M. Hobler
 9                                                                         JEAN M. HOBLER
                                                                           Assistant U.S. Attorney
10
     Dated: February 7, 2012
11

12                                                                 By:     /s/ Jean M. Hobler for
                                                                           DONALD H. HELLER
13                                                                         Attorney for STANCIL ENTERPRISES,
                                                                           INC., and JOSEPH STANCIL
14
     Dated: February 7, 2012
15

16                                                                 By:     /s/ Jean M. Hobler for
                                                                           MARK REICHEL
17                                                                         Attorney for DANIEL MATHIS

18
                                                                   ORDER
19
20                             For good cause shown and based upon the agreement of the parties, the Court orders the

21   status conference in this matter be continued to February 16, 2012, at 9:00 a.m.

22
     Dated: February 8, 2012
23
                                                                __________________________________
24
                                                                MORRISON C. ENGLAND, JR
25                                                              UNITED STATES DISTRICT JUDGE

26

27   DEAC_Signatu re-END:




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